      CASE 0:20-cv-00499-PJS-DTS Document 67 Filed 05/15/20 Page 1 of 4
                                                                                Monte A. Mills
                                                                                612-373-8363 direct
                                                                                mmills@greeneespel.com




May 15, 2020


VIA ECF

The Honorable Patrick J. Schiltz
United States District Court
14E U.S. Courthouse
300 South Fourth Street
Minneapolis, MN 55415

       Re:     Doe, et al. v. City of Apple Valley
               Court File No. 20-cv-00499 (PJS-DTS)

Dear Judge Schiltz:

        Enclosed is a copy of the new Apple Valley Ordinance No. 1075 which we received today.
Ordinance No. 1075 makes two further amendments to Section 130.08 of the City Code. First, it
amends the “Public park or playground” category of protected zones in Section 130.08(C)(2),
which now reads: “Public park with playground equipment or other public facility designed or
used for youth activities, including recreation centers, ice arenas, and aquatic centers, as
designated in Apple Valley’s official parks list.” (Also enclosed is a copy of Apple Valley’s official
parks list, which Section 130.08(C)(2) references.) Second, it amends the “place of worship”
category of protected zones in Section 130.08(C)(3), which now reads: “A public place of worship
that is maintained and controlled by a religious organization/body and at which regular
educational programs for children are provided (e.g. Sunday school).”

       Apple Valley does not believe that this ordinance amendment changes the applicability of
Section 130.08 to John Does 1, 2, or 4.

                                               Very truly yours,

                                               s/Monte A. Mills

                                               Monte A. Mills

MM/jak
Enclosure
CASE 0:20-cv-00499-PJS-DTS Document 67 Filed 05/15/20 Page 2 of 4
CASE 0:20-cv-00499-PJS-DTS Document 67 Filed 05/15/20 Page 3 of 4
CASE 0:20-cv-00499-PJS-DTS Document 67 Filed 05/15/20 Page 4 of 4
